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      Exhibit 1
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8 1                 IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

9                                   IN AND FOR THE COUNTY OF KING

101    ANDREA LISTER         in her individual

111    capacity and family          PLAINTIFF,             NO.                      lilt
12 1                V.

131    COS, Prosecutors, Marshal(s)       TBA              SUMMONS (20 DAYS)

141    Seattle Police Dept + Officers      TBA

151    King County Et, Al., KC Prosecutors       1

161    KC DAJD, EE's, Sargeants, CO's            1

171    John & Jill Doe(s), Public Defense TBA 1

181                          DEFENDANTS _ j

191    THE STATE OF WASHINGTON TO: the defendants named above.

201           A lawsuit has been started against you in the above-entitled court by

211    the above-entitled Plaintiff. Plaintiff's claim is stated in the written

 221   complaint, a copy of which is served upon you with this summons.

 231          In order to defend against this lawsuit, you must respond to the

 241    complaint by stating your defense in writing, and by serving a copy upon the

 251    undersigned person within twenty (20) days (if served within the State of
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I   1   Washington) or within sixty (60) days (if served outside the State of

2   1   Washington) after the date of service on you of this Summons, excluding the

3   1   day of service, or a default judgment may be entered against you without
4   1   notice. A default judgment is one where plaintiff is entitled to what is asked

5       for because you have not responded. If you serve a notice of appearance on

6   1   the undersigned attorney, you are entitled to notice before a default

7 1     judgment may be entered.

8             If previously not filed, you may demand that the plaintiff file the

9   1   lawsuit with the court. If you do so, the demand must be in writing and must

101     must be served upon the person signing this summons. Within fourteen (14)

111     days after you serve the demand, the plaintiff must file this lawsuit with the

121     Court, or the service on you of this summons and complaint will be void.

131            If you wish to seek the advice of an attorney in this matter, you should

141     do so promptly so that your written response, if any, may be served on time.

151            This summons is stated pursuant to Rule 4 of the Superior Court Civil

161     Rules of the State of Washington.

171                  DATED June 4, 2017.

181                                                   .~,%..----              c
191                                       Andrea Lister, Attorney Pro-Se, Plaintiff

201                                       email: todaysgirlfriday@gmail.com

211                                       1728 E. Olive Street #3-706

221                                       Seattle, WA 98122

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81                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

91                                 IN AND FOR THE COUNTY OF KING

101   ANDREA LISTER         in her individual    I

111   capacity and family          PLAINTIFF,    (     NO.

121

131   COS, Prosecutors, Marshals)         TBA    1     COMPLAINT FOR

141   Seattle Police Dept + Officers      TBA    1     DAMAGES

151   King County Et, Al., KC Prosecutors

161   KC DAJD, EE's, Sargeants, CO's             1

171   John & Jill Doe(s), Public Defense TBA 1

181                         DEFENDANTS _l
191            COMES NOW Plaintiff ANDREA LISTER by and through herself

201   PRO-SE as the interim attorney of record and states and alleges as follows:

211

221                    ®    PARTIES, JURISDICTION, AND VENUE

231   1.       The Plaintiff at all times relevant herein were the residents of Seattle,

241   King County, Washington.

251   2.       Defendant(s) on information and belief, and at all material times
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1     material hereto, Defendants all worked in the Municipality of doing business
2     in Seattle, King County, Washington. All acts alleged herein were performed

3     as policy of the above agencies and also individually, on behalf of, and in
4     furtherance of their employment with the above agencies and actions of each
5     is sued under the tortious claims method.
6     3.       Between 01/01/05 and until presently, and on information and belief,
7     experience and conduct of the above policies, procedures, loss of unlawful

8     behaviors of the individuals collaboratively who conducted such treacherous

9 1   acts and violations of harm, abuse, degradation, violence, embarrassment,

101   loss of rights, loss of consortium, loss of income, loss of assets, court cases,

111   civic liabilities, civil liberties, withholding pro-se status, loss of employment,

121   violations of constitutional rights & protections and as a pre-trial detainee

131   too many to list occurred towards wrongful arrest, conviction, incarceration

141   and police, prosecutor, & judicial malfeasance of these resulting from the

151   actions over the time specified and injustices occurring as a result. Loss of

161   freedom, emotional distress, pain/suffering. The material events & tortuous

171   conduct alleged herein occurred in Seattle, in King County, Washington.

181   5.       Jurisdiction and venue are properly before the Court.

191

201                               II. FACTS and III. CAUSES of aCTI®N

211   6.       Between the above dates, Andrea Lister was subjected to civil and

221   criminal behaviors from employees of the above agencies, government victim

231    municipalities/county and the powers of the State as she was actually the

241   victim of Domestic Violence at the hands of Daniel Calvin Wiseman of West

251   Seattle. She was subjected to horrible crimes of cruel and unusual
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1            punishments, not only including excessive solitary confinement, harsh

2            conditions, but numerous violations of law as to pre-trial detainees, of

3            statutes, regulation, and /or ordinance, policies, protocols, and conditions

4            of confinement, health and welfare violations, lack of exercise, due care and

5            duties which include, but are not limited to: exercising due care and caution

6            as the conditions required; maintaining laws and safety of prisoners as

7    1       detainees pre-trial required of a reasonable and prudent employee under

8    1       the circumstances while operating as an employee within the City, County

9    1       and State of Washington.

101          7. As a direct and proximate result of the employees actions Andrea Lister

111          Plaintiff(s) sustained bodily injuries resulting in pain and suffering,

121          aggravation, inconvenience, emotional distress and disturbance, and

131          reduction in the capacity to enjoy life in the past, present, and possibly

141          future entitling Plaintiffs to recover general damages in the amounts not

151          now precisely known, but to be proven at the time of trial. As well as access

161          to competent counsel, proper healthcare and all other records and files.

171          15.    As a further direct and proximate cause of the tortuous acts of these

181          employees the Plaintiffs suffered the following only a partial stated list of

191          damages which also include, but are not limited to the following: property

201          damage; loss of use of property; past, present, future medical expenses;

211          past, present, future loss of income; reduction in earning capacity; loss of

221          consortium, permanent disability & impairment; medical out of pocket, other

23       1   miscellaneous expenses related to the plaintiffs' injuries; costs & reasonable

24 (         attorney's fees; & other costs of further damages as shall be proven at trial.

25       1                        IV. LIMITED PHYSICIAN -PATIENT WAIVER
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1             Plaintiffs hereby waives the physician-patient privilege only to the
2     extent required by RCW 5.60.060, as limited by Plaintiffs' Constitutional

3 1   Rights of Privacy, contractual rights of privacy, and the ethical obligations
4     of physicians and attorneys not to engage in ex parte contact between the

5     treating physician and the patient's legal adversaries or their representatives.

6                          V. PRAYER FOR RELIEF

7     WHEREFORE, Plaintiffs pray for relief as follows:

8 I   1.      For judgment against all defendants jointly and severably and as

9     for general and special damages suffered by Plaintiff(s) in an amount to be

101   determined at trial; specifying all available total possible damages by law.

111   2.      For Plaintiffs' taxable costs and attorneys fees incurred herein; and
121   also Pro-se fees

131   3.      For such other and further relief as the court deems just.

141           DATED June 4, 2017.

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161                                      Andrea Lister, Attorney Pro-Se, Plaintiff
171                                      email: todaysgirlfriday@gmail.com

181                                      1728 E. Olive Street #3-706
191                                      Seattle, WA 98122
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